        2:17-cr-20037-JES-JEH # 55        Page 1 of 3                                         E-FILED
                                                                Tuesday, 23 January, 2018 07:30:45 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )        Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )

        MOTION TO CONTINUE PRETRIAL DEADLINES, FINAL PRETRIAL
                  CONFERENCE, AND JURY TRIAL DATES

       Defendant Brendt A. Christensen, by and through counsel, respectfully requests

that this Court enter an Order vacating all pretrial deadlines, the final pretrial

conference, and the jury trial dates in this cause, and set the matter for a Status

Conference to address future scheduling matters. In support of this Motion counsel

states as follows:

       1.     On October 3, 2017, a Superseding Indictment was filed charging one

count of kidnapping resulting in death in violation of 18 U.S.C. Section 1201 and two

counts of false statements in violation of 18 U.S.C. Section 1001. (R. 26)

       2.     Counsel for the Defendant filed a Motion to Continue the trial date on

October 24, 2017. (R. 29) Said Motion was denied by this Court on November 15, 2017,

because “[I]mportantly, this case is not a death penalty case in its current posture.” (R.

34, pg. 5) The denial was premised on the fact that “the prosecution is not seeking the

death penalty.” (R. 34, pg. 9) However, the Court made clear that should the case



	                                              1	
       2:17-cr-20037-JES-JEH # 55        Page 2 of 3



become a death penalty case, “the court would welcome a renewed motion to continue

the trial” so more appropriate deadlines could be established. (R. 34, pg. 9)

       3.     On January 19, 2018, the Government filed its Notice of Intent to Seek the

Death Penalty. (R. 54)

       4.     The parties have met and intend to consult regarding a proposed

Scheduling Order which would incorporate new pretrial motion deadlines, a new final

pretrial conference date, and new trial dates; both parties recognize that a February trial

date would be impossible and impractical now that this case carries the possibility of

capital punishment. Based on the foregoing, the Defendant requests that all existing

deadlines be immediately vacated, that the final pretrial conference and jury trial dates

be vacated, and that the Court convert the Final Pre-Trial Conference presently

scheduled for February 12, 2018, to a Status Conference to discuss scheduling.

                                   Respectfully submitted,

                                   BRENDT A. CHRISTENSEN, Defendant

By:    /s/Elisabeth R. Pollock                    /s/ George Taseff
       Assistant Federal Defender                 Assistant Federal Defender
       300 West Main Street                       401 Main Street, Suite 1500
       Urbana, IL 61801                           Peoria, IL 61602
       Phone: 217-373-0666                        Phone: 309-671-7891
       FAX: 217-373-0667                          Fax: 309-671-7898
       Email: Elisabeth_Pollock@fd.org            Email: George_Taseff@fd.org

       /s/ Robert Tucker
       Robert L. Tucker, Esq.
       7114 Washington Ave
       St. Louis, MO 63130
       Phone: 703-527-1622
       Email: roberttuckerlaw@gmail.com



	                                            2	
       2:17-cr-20037-JES-JEH # 55        Page 3 of 3



                              CERTIFICATE OF SERVICE

      I hereby certify that on January 23, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




	                                           3	
